




NO. 07-04-0090-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



APRIL 6, 2005



______________________________





AMADOR SALAZAR, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2002-400255; HONORABLE JIM BOB DARNELL, JUDGE



_______________________________



Before QUINN and REAVIS and CAMPBELL, JJ.

ON ABATEMENT AND REMAND

Appellant Amador Salazar seeks abatement and remand of this appeal challenging his conviction of the felony offense of aggravated assault so that he may file a motion for new trial with the assistance of counsel. &nbsp;We grant the motion and abate his appeal.

At trial appellant was represented by retained counsel and was found guilty by a jury. &nbsp;The record reflects sentence was imposed December 12, 2003. &nbsp;No timely motion for new trial was filed. &nbsp;In a March 3, 2004 order the trial court recited that appellant provided hand-written notice of appeal to the trial court judge “shortly” after sentence was imposed but that it does not appear in the record.
(footnote: 1) &nbsp;At the trial court’s request, trial counsel prepared and filed a second notice of appeal on March 3, 2004. &nbsp;Appellate counsel was appointed on March 5, 2004. &nbsp;

The appellate record was complete on the filing of the reporter’s record in June 2004. &nbsp;In a motion filed October 13, 2004 appellant asserted he had been denied the assistance of counsel during the time for preparation and presentation of a motion for new trial. &nbsp;He argued the a motion for new trial and hearing thereon were necessary to establish facts not shown in the record. &nbsp;Appellant’s motion acknowledged the record was inadequate to overcome the presumption he was adequately represented during the time for filing a motion for new trial. 
See Oldham v. State
, 977 S.W.2d 354 (Tex.Crim.App. 1998). &nbsp;He sought abatement of the appeal and remand to the trial court for a hearing to present evidence necessary to overcome that presumption. 

In an opinion issued November 16, 2004, we reaffirmed our holding in 
Champion v. State
, 82 S.W.3d 79, 83-84 (Tex.App.–Amarillo 2002, no pet.), that the time for preparation and presentation of a motion for new trial is a critical stage at which the right to the assistance of counsel attaches. &nbsp;
Salazar v. State
, No. 07-04-090-CR, (Tex.App.–Amarillo November 16, 2004). &nbsp;Agreeing that the record failed to establish he had been denied the assistance of counsel, we abated the appeal and remanded it for a hearing to provide the trial court an opportunity to make a factual determination on that question. &nbsp;
Id.
 &nbsp;

The trial court conducted a hearing in accordance with this court’s order on December 3, 2004. &nbsp;At that hearing appellant presented his own testimony and that of his trial counsel. &nbsp;Appellant’s trial counsel stated he discussed only the filing of a notice of appeal with appellant and did not recall discussing any post-trial motions. He stated that at the conclusion of the trial he viewed his obligation to appellant as complete. &nbsp;Appellant testified his trial counsel never discussed the filing of a motion for new trial. &nbsp;The State did not question the witnesses or present any evidence at the hearing.

The trial court made and filed findings of fact and conclusions of law. &nbsp;The court found appellant “was effectively abandoned by counsel during the 30 day period for preparing, filing and presenting a motion for new trial.” It also found appellate counsel was not appointed until well after the time for filing a motion for new trial.

The trial court concluded that appellant was denied the assistance of counsel during the time for preparing and filing a motion for new trial. &nbsp;We agree. &nbsp;Appellant has further alleged, and presented evidence tending to support, a theory he seeks to assert on appeal which will require the presentation of additional evidence through a motion for new trial hearing. &nbsp;While disapproving of reliance on former Rule of Appellate Procedure 2(b) as authority, the Court of Criminal Appeals has approved procedural methods for resolving such issues “sooner rather than later,” and emphasized the importance of rectifying denial of constitutionally guaranteed right to counsel. &nbsp;
Oldham
, 977 S.W.2d at 360. &nbsp;We conclude protection of this appellant’s right to the assistance of counsel requires the appeal be abated and remanded for the purpose of allowing him to file a motion for new trial with the assistance of counsel. &nbsp;
Champion
, 82 S.W.3d at 83.

We therefore abate this appeal and remand it the trial court to the point at which appellant was convicted and sentence imposed. &nbsp;&nbsp;If a motion for new trial is granted, the record shall be supplemented with a copy of the trial court’s order. &nbsp;If the motion for new trial is overruled, the record shall be supplemented with the court’s order and the reporter’s record of any hearing on the motion. &nbsp;



Per Curiam







Quinn, J. dissenting. &nbsp;





Publish. &nbsp;

FOOTNOTES
1: The trial court subsequently made a finding that the notice of appeal was provided &nbsp;within the thirty day period for perfecting appeal.




